   Case 1:08-cv-10934-LAP             Document 1122
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                                                             Filed 04/16/14       Page 1 of 26
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                                                               I   ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                       DOC #:_ _--=-=----:----:-:-:-:
SOUTHERN DISTRICT OF NEW YORK                         x            DATE FlLf~n: APR 1~ 6 2014

                                                           STIPULATION AND ORDER OF
                                                           SETTLEMENT BETWEEN THE
In Re 650 Fifth Avenue and Related Properties              UNITED STATES AND CERTAIN
                                                           THIRD-PARTY CLAIMANTS

                                                           08 Civ. 10934 (KBF)
                                                      x


                WHEREAS, the United States of America, by and through its counsel, Preet

Bharara, United States Attorney for the Southern District of New York, commenced the instant

action by filing a verified complaint (the "Complaint") seeking forfeiture of, inter alia, all right,

title, and interest of Assa Corporation, Assa Company Limited, and Bank Melli Iran, including,

but not limited to, the real property and appurtenances located at 650 Fifth A venue, New York,

New York, with all improvements and attachments thereon, and all property traceable thereto

(the "Building");

                WHEREAS, on November 12,2009, the United States filed an amended

complaint (the "Amended Complaint"), verified by Special Agent George J. Ennis Jr., of the

Federal Bureau of Investigation, alleging that the following properties, and others, are subject to

seizure and civil forfeiture:

                a.      All right, title, and interest of Assa Corporation, Assa Company Limited,
                        Bank Melli Iran, and the Alavi Foundation in 650 Fifth Avenue Company,
                        including but not limited to the real property and appurtenances located at
                        650 Fifth Avenue, New York, New York, with all improvements and
                        attachments thereon, and all property traceable thereto;

                b.      The Building;

                c.      All right, title, and interest in the real property and appurtenances located
                        at 2313 South Voss Road, Houston, Texas 77057, with all improvements
                        and attachments thereon (the "Defendant Real Property-l ");
Case 1:08-cv-10934-LAP      Document 1122          Filed 04/16/14       Page 2 of 26




         d.    All right, title, and interest in the real property and appurtenances located
               at 55-11 Queens Boulevard, Queens, New York 11377, Block 1325 Lots
               1,6, 7, and 8, with all improvements and attachments thereon (the
               "Defendant Real Property-2");

         e.    All right, title, and interest in the real property and appurtenances located
               at 4836 Marconi Avenue, Carmichael, California 95608, with all
               improvements and attachments thereon (the "Defendant Real Property­
               3");

         f.    All right, title, and interest in the real property and appurtenances located
               at 4204 Aldie Road, Catharpin, Virginia 20143-1133, with all
               improvements and attachments thereon (the "Defendant Real Property­
               4");

         g.    All right, title, and interest in the real property and appurtenances located
               at 4300 Aldie Road, Catharpin, Virginia 20143-1133, with all
               improvements and attachments thereon (the "Defendant Real Property­
               5");

         h.   All right, title, and interest in the real property and appurtenances located
              at 7917 Montrose Road, Rockville, Maryland 20854, with all
              improvements and attachments thereon (the "Defendant Real Property­
              6");

         I.   All right, title, and interest in the real property and appurtenances located
              at 8100 Jeb Stuart Road, Rockville, Maryland 20854, with all
              improvements and attachments thereon (the "Defendant Real Property­
              7");

         J.   AII funds formerly on deposit in Account Number 78429712, at Citibank,
              N.A., New York, New York ("Defendant Account-I");

         k.   All funds formerly on deposit in Account Number 8881654552, at
              Citibank, N.A., New York, New York ("Defendant Account-2");

         I.   All funds formerly on deposit in Account Number 2724409590, at
              JPMorgan Chase Bank, N.A., Baton Rouge, Louisiana ("Defendant
              Account-}");

         m.   All funds formerly on deposit in Account Number 725700280, at
              JPMorgan Chase Bank, N.A., Baton Rouge, Louisiana ("Defendant
              Account-4");

         n.   All funds on deposit at JPMorgan Chase Bank, N.A., in account number
              230484468, held in the name of650 Fifth Avenue Company, and all funds
              traceable thereto ("Defendant Account-5");

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  Case 1:08-cv-10934-LAP            Document 1122          Filed 04/16/14       Page 3 of 26




               o.      All funds on deposit at JPMorgan Chase Bank, N.A., in account number
                       230484476, held in the name of 650 Fifth Avenue Company, and all funds
                       traceable thereto (,'Defendant Account-6");

                p.     All funds on deposit at Sterling National Bank in account number
                       3802032216, held in the name of Alavi Foundation, and all funds
                       traceable thereto ("Defendant Account- T');

               q.      All funds on deposit at Sterling National Bank in account number
                       380203220 I, held in the name of Alavi Foundation, and all funds
                       traceable thereto ("Defendant Account-8"); and

               r.      All funds on deposit at Sterling National Bank in account number
                       3852524414, held in the name of Alavi Foundation, and all funds
                       traceable thereto ("Defendant Account-9");

(collectively, the "Defendant Properties");

               WHEREAS, on or about January 20, 2009 and Apri I I, 20 I 0, Assa Corp. filed a

claim in the instant action asserting an ownership interest in the Defendant Properties and

subsequently filed an answer on or about June 15,2011;

               WHEREAS, on or about December 17,2009, the Alavi Foundation filed a claim

in the instant action asserting an ownership interest in the Defendant Properties and subsequently

filed an answer on or about April 13,20 I I;

               WHEREAS, on or about December 17, 2009, the 650 Fifth A venue Company

filed a claim in the instant action asserting an ownership interest in the Defendant Properties and

subsequently filed an answer on or about April 13,2011;

               WHEREAS, on or about February 26, 2010, the Heiser Judgment Creditors, as

defined in Exhibit A attached hereto, filed a claim in the instant action asserting an ownership

interest in the Defendant Properties;

               WHEREAS, the Heiser Judgment Creditors are family members and the personal

representatives of the estates of 17 of the 19 United States Air Force officers and airmen killed in

the June 25, 1996 terrorist bombing of the Khobar Towers;
                                               3
  Case 1:08-cv-10934-LAP              Document 1122         Filed 04/16/14        Page 4 of 26




                WHEREAS, on or about March 1, 20 10, the Peterson Judgment Creditors, as

defined in Exhibit B attached hereto, filed a claim in the instant action asserting an ownership

interest in the Defendant Properties;

                WHEREAS, the Peterson Judgment Creditors are family members and

representatives of the estates of United States service persons killed in the October 23, 1983

terrorist bombings of a United States Marine Barrack in Beirut, Lebanon, as well as United

States service persons wounded in that attack;

                WHEREAS, on or about March 1,2010, the Havlish Judgment Creditors, as

defined in Exhibit C attached hereto, filed a claim in the instant action asserting an ownership

interest in the Defendant Properties;

                WHEREAS, the Havlish Judgment Creditors are personal representatives and

family members of fifty-nine victims of the September 11,2001 terrorist attacks who brought a

civil suit to recover damages against nation states, entities and individuals who provided

financial and logistical support to the 9/11 terrorists;

                WHEREAS, on or about March 1, 2010, the Holland, Campuzano, Blais, Brewer,

Valencia, and Welch Judgment Creditors, as defined in Exhibits D, N, 0, P, Q, and R attached

hereto, filed a notice of claim in the instant action asserting an ownership interest in the

Defendant Properties;

                WHEREAS, the Holland, Campuzano, Blais, Brewer, Valencia, and Welch

Judgment Creditors are family members and personal representatives of the estates of persons

who had been victims of Iranian-sponsored terrorism;




                                                   4
   Case 1:08-cv-10934-LAP            Document 1122          Filed 04/16/14       Page 5 of 26




                WHEREAS, on or about March 16,20 10, the Beer Judgment Creditors, as

defined in Exhibit E attached hereto, filed a notice of claim in the instant action asserting an

ownership interest in the Defendant Properties;

                WHEREAS, the Beer Judgment Creditors' judgment arises from the June II,

2003 terrorist bombing of a bus in Jerusalem, Israel, that caused the death of eighteen

passengers, including Alan Beer, and wounded more than one hundred other persons;

                WHEREAS, on or about March 16,2010, the Greenbaum Judgment Creditors, as

defined in Exhibit F attached hereto, tiled a notice of claim in the instant action asserting an

ownership interest in the Defendant Properties;

                WHEREAS, the Greenbaum Judgment Creditors' judgment arises from the

August 9, 2001 terrorist suicide bombings ofa Sbarro's restaurant in Jerusalem, Israel, that

caused the death of fifteen people, including Judith Greenbaum, and wounded more than one

hundred thirty others;

                WHEREAS, on or about March 16, 20 10, the Kirschenbaum Judgment Creditors,

as defined in Exhibit G attached hereto, filed a notice of claim in the instant action asserting an

ownership interest in the Defendant Properties;

                WHEREAS, the Kirschenbaum Judgment Creditors' judgment arise from the

December 1, 200 I terrorist bombings of a pedestrian mall in Jerusalem, Israel, that caused the

death of nine people and severely wounded over one hundred fifty more, including Jason

Kirschenbaum;

               WHEREAS, on or about March 16, 20 10, the Acosta Judgment Creditors, as

defined in Exhibit H attached hereto, filed a notice of claim in the instant action asserting an

ownership interest in the Defendant Properties;


                                                  5
   Case 1:08-cv-10934-LAP            Document 1122          Filed 04/16/14       Page 6 of 26




                 WHEREAS, the Acosta Judgment Creditors' judgment arises from the November

5, 1990 assassination of Rabbi Meir Kahane, a former Israeli Parliament member and founder of

the Jewish Defense League, and the shootings of Irving Franklin and U.S. Postal Police Officer

Carlos Acosta;

                 WHEREAS, on or about April 2, 20 10, the Botvin Judgment Creditors, as

defined in Exhibit I attached hereto, filed a notice of claim in the instant action asserting an

ownership interest in the Defendant Properties;

                 WHEREAS, the Botvin Judgment Creditors are family members of and personal

representatives of the estate of Yael Botvin, a victim of the September 4, 1997 suicide bombing

at Jerusalem's Ben Yehudah Mall;

                 WHEREAS, on or about April 2, 20 I 0, the Bland, Brown, and Valore Judgment

Creditors, as defined in Exhibits J, K, and L attached hereto, filed a joint claim in the instant

action asserting an ownership interest in the Defendant Properties;

                 WHEREAS, the Bland, Brown, and Valore Judgment Creditors are United States

service persons wounded in the October 23, 1983 terrorist bombing of the United States Marine

Barracks in Beirut, Lebanon, representatives of the estates of United States service persons killed

in that attack and family members of the victims of that attack;

                 WHEREAS, on or about May 24, 2010, July 12,2010, and April 26, 2012, the

Bayani Judgment Creditors, as defined in Exhibit M attached hereto, filed claims in the instant

action asserting an ownership interest in the Defendant Properties;

                 WHEREAS, the Bayani Judgment Creditors' judgment arises from the

extrajudicial detention, torture, and murder of Siavash Bayani, a naturalized American citizen, by

Iran, its Agents and Instrumentalities in Iran in 1997;


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   Case 1:08-cv-10934-LAP              Document 1122       Filed 04/16/14       Page 7 of 26




                WHEREAS, on or about January 8, 2009 the Rubin Judgment Creditors, as

defined in Exhibit S attached hereto, tiled a Complaint asserting an ownership interest in the

Defendant Properties arising from certain judgments referenced therein, which Complaint was

amended August 13,2012;

               WHEREAS, the Rubin Judgment Creditors' judgments arise from terrorist

attacks on facilities in Israel resulting in death and/or serious bodily harm to American citizens

giving rise to the actions filed by them;

               WHEREAS, on September 11,2013, the Court granted the Government's motion

for summary judgment with respect to the Building and Bank Account-I through Bank Account­

9 finding that the Alavi Foundation, 650 Fifth A venue Company and Assa Corp. engaged in

IEEPA violations and further engaged in promotion, concealment and international money

laundering;

               WHEREAS, in granting summary judgment the Court held that "[b]ut for Assa's

IEEPA violations, the Building would long ago have been forfeited" and it further held that "[i]f

it had been known earlier that Alavi was providing ... services [to the Government of Iran], its

interest would have been forfeited;"

               WHEREAS, the United States Attorney's Office for the Southern District of New

York (the "l'SAO") and the Heiser, Peterson, Havlish, Beer, Greenbaum, Kirschenbaum,

Acosta, Bland, Holland, Campuzano, Blais, Brewer, Valencia, Welch, Valore, Brown, Bayani,

and Julie Goldberg-Botvin Judgment Creditors and the Rubin Judgment Creditors (collectively,

the "Settling Judgment Creditors"), to avoid further litigation, have agreed to resolve the Settling

Judgment Creditors' claims to the Defendant Properties on the terms and conditions set forth

below;


                                                 7
   Case 1:08-cv-10934-LAP            Document 1122          Filed 04/16/14     Page 8 of 26




               WHEREAS, on or about March 12,2010, Edwina Hegna, as Executrix of the

estate of Charles Hegna, Craig H. Hegna, Lynn M. Hegna Moore, Paul B. Hegna, and Steven A.

Hegna (the "Hegna Judgment Creditor"), filed a claim in the instant action asserting an

ownership interest in the Defendant Properties;

               WHEREAS, the Hegna Judgment Creditors have declined to enter into this

Stipulation and Order and accordingly, are not included in the proposed distribution of the

proceeds of the sale of the Defendant Properties;

               WHEREAS, the Settling Judgment Creditors and the USAO agree to retain the

full amounts of the Hegna Judgment Creditor claims (the "Non-Settlement Proceeds") in the

United States Marshals Service Seized Asset Deposit Fund pending resolution of their claims by

the Court;

               WHEREAS, the total amount of the Non-Settlement Proceeds equals

$33,612,878.90, excluding post judgment interest, to the extent applicable, and is comprised of

the Hegna Judgment Creditors claim of $33,612,878.90, after a partial satisfaction of a judgment,

dated January 18,2002, in the original amount of $42,000,000;

               WHEREAS, in the event that the Court denies the Hegna Judgment Creditors'

claims, the Settling Judgment Creditors and the USAO agree that the Non-Settlement Proceeds

shall be distributed on a pro-rata basis to the Settling Judgment Creditors;

               WHEREAS, the USAO and the Settling Judgment Creditors agree that any of the

Defendant Properties forfeited to the United States shall be sold by the United States Marshals

Service, the Government's litigation expenses and sales costs be reimbursed from the sale

proceeds and the net proceeds of the sales distributed to the Settling Judgment Creditors on a




                                                  8
     Case 1:08-cv-10934-LAP         Document 1122         Filed 04/16/14        Page 9 of 26




pro-rata basis based upon their unpaid compensatory damages judgments in the following

percentages:

      Judgment Creditor              Pro-rata Distribution             Total Compensatories
           Peterson                             4870%                      , , ,
                                                                         $2656944877 00
                                         ---­                      I
I          Havlish                              24.97%             I
                                                                   I
                                                                         $1,362,277 ,884.00
           Holland                              0.46%              I
                                                                   I
                                                                              $25,241,486.00
                                    .-~-----.
                                                              ~.




                                                                   i                                -
I
         Campuzano                              0.75%              I          $40,963,607.87
I              Blais                            0.53%
                                                                   I
                                                                   i          $28,801,792.00            I
           Brewer                               0.17%                         $9,500,000.00
          Valencia
                              I
                              i
                                                0.28%                         $15,500,000.00
            Welch                               0.60%                         $32,698,304.00
                              I
I
r­
               Beer
         Greenbaum
        Kirschenbaum
                             t=                 0.24%
                                                0.36%
                                                                         .­
                                                                               $13,000,000
                                                                              $19,879,023.00


           Acosta

           Valore       -t--­                   5                                   1,092.00


~= ~: ----r--~:~:~           -rl--~----'~~~------~----~~-~~~
                                                                          :~~~::~~:~~::~~           I
           Bayani             I                  1.22%                        $66,331,500.00
            Heiser                              5.24%                         $286,089,966

           Botvin                               0.21%                          11,704,457.00




                 WHEREAS, the USAO and the Settling Judgment Creditors agree that in the

event any of the Settling Judgment Creditors recover any portion of their outstanding judgments

they shall immediately notify the Government and the parties to this Stipulation and Order within

ten business days of such recovery and the parties and the Government shatl adjust the above

percentages accordingly;

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      Case 1:08-cv-10934-LAP                Document 1122       Filed 04/16/14      Page 10 of 26




                      WHEREAS, the Settling Judgment Creditors agree to waive the argument with

    respect to the Defendant Properties that the Terrorism Risk Insurance Act ("TRIA") takes

    precedence over the forfeiture action;

                      IT IS HEREBY STIPULATED, AGREED AND ORDERED AS FOLLOWS:

                      I.       The USAO and the Settling Judgment Creditors agree that any of the

    Defendant Properties forfeited to the United States shall be sold by the United States Marshals

Service, the Government's litigation expenses, and sales costs be recovered from the sales

proceeds, and the net proceeds of the sales distributed to the Settling Judgment Creditors on a

pro-rata basis based upon the following percentages, and that the compensatory portion of the

Settling Judgment Creditors' outstanding judgments shall be reduced on that basis:
r----­
I       Judgment Creditor
                                        I   Pro-rata Distribution            Total Compensatories
                Peterson                I
                                                   48.70%                      $2,656,944,877.00
                                     -~-~
r                Havlish                           24.97%
                                                    --
                                                                               $1,362,277,884.00
                                                                                                      j
                Holland                             0.46%                        $25,241,486.00
~-            Campuzano
                                        I
                                                    0.75%                        $40,963,607.87       ~
                  Blais                 I           0.53%                        $28,801,792.00
                                       L-
                 Brewer                             0.17%                         $9,500,000.00
                Valencia                I           0.28%                        $15,500,000.00
       ----~~------~-----.--------




                 Welch                              0.60%                        $32,698,304.00
                  Beer                 I            0.24%                         $13,000,000
                                       I
I



I             Greenbaum                             0.36%                        $19,879,023.00
            Kirschenbaum               I            0.25%                        $13,750,000.00
                                       I
r==-             Acosta                             0.92%                        $50,172,000.00
                                       .~           5.32%                       $290,291,092.00
                Valore
                 Brown                              3.36%                       $183,281,294.00     ~
                 Bland                              5.09%                       $277,805,908.00
I                                                                                                     I
                                                         10
    Case 1:08-cv-10934-LAP           Document 1122          Filed 04/16/14       Page 11 of 26




            Bayani                             1.22%                          $66,331,500.00
             Heiser                            5.24%                           $286,089,966
            Botvin                            0.21%                           $11,704,457.00
I
,~-                      ---1--~-                               ~---
             Rubin
                               I
                                               1.31%             . I          $71,500,000.00

               2.      The USAO and the Settling Judgment Creditors agree that in the event any

of the Settling Judgment Creditors recover any portion of their outstanding judgments they shall

immediately notify the Government and the parties to this Stipulation and Order within ten

business days and the parties and the Government shall adjust the percentages listed in paragraph

number one above accordingly.

               3.      The Hegna Judgment Creditors, having declined to enter into this

Stipulation and Order, are accordingly not included in the distribution of the proceeds of the sale

of the Defendant Properties that are forfeited to the United States. The Non-Settlement Proceeds

shall be deposited in the United States Marshals Service Seized Asset Deposit Fund pending

resolution of their claims by the Court. Except as permitted by further agreement of the USAO

and the Settling Judgment Creditors or by a final and non-appealable order of the Court, Non-

Settlement Proceeds will not be released to the Hegna Judgment Creditors. Upon entry of a final

and non-appealable order which denies the claims of the Hegna Judgment Creditors to all or a

portion of the Non-Settlement Proceeds, the amount of the Non-Settlement Proceeds affected by

such order shall be distributed on a pro-rata basis to the Settling Judgment Creditors pursuant to

the terms of this Agreement.

               4.      Upon the date when the last distribution pursuant to the terms of this

Agreement is made, the Settling Judgment Creditors hereby agree to withdraw their claims and

answers in this action. Upon entry of this Stipulation and Order, the Settling Judgment Creditors

shall not take any position in this litigation adverse to the positions taken by the lJSAO, and the
                                                 II
   Case 1:08-cv-10934-LAP            Document 1122           Filed 04/16/14       Page 12 of 26




claims and answers shall continue to be filed only to permit the Settling Judgment Creditors to

oppose relief sought by the Hegna Judgment Creditors.

                5.      The Settling Judgment Creditors agree that they will only raise the

argument that the Terrorism Risk Insurance Act ("TRIA") takes precedence over the forfeiture

action ("the TRIA Argument") to the extent necessary to protect the interests of the Settling

Judgment Creditors in connection with any relief sought by the Hegna Judgment Creditors and

that the Settling Judgment Creditors will not otherwise raise the TRIA Argument as against the

USAO in this litigation.

               6.      The Settling Judgment Creditors hereby waive all rights to appeal or to

otherwise chaJlenge or contest the validity of this Stipulation and Order.

               7.      The Settling Judgment Creditors hereby agree that effective upon the

receipt by them of the net proceeds of sale of the Defendant Properties they shall waive all rights

to execute against or attach property currently at issue in claims against the United States before

either the Iran US Claims Tribunal or the International Court of Justice, and diplomatic, consular

or cultural property that may become the subject of awards rendered by such tribunals against the

United States in the future. The Settling Judgment Creditors further agree to waive, effective

upon receipt by them of the net proceeds of sale of the Defendant Properties all rights to execute

against or attach property that constitutes cultural property as defined in the 1970 UNESCO

Convention on the Means of Prohibiting and Preventing the Illicit Import, Export and Transfer of

Ownership of Cultural Property. The waiver provisions of this paragraph shall not apply to any

litigations pending outside the United States and to the non-exclusive list of litigations set forth

in Exhibit T annexed hereto and to Case 03-cv 09370 pending in the U.S. District Court for the




                                                 12
   Case 1:08-cv-10934-LAP              Document 1122       Filed 04/16/14      Page 13 of 26




Northern District of Illinois or Case 98-cv-Ol165-B-DHB pending in the U.S. District Court for

the Southern District of California.

               8.      The Settling Judgment Creditors are hereby barred from asserting any

claim against the United States of America ("USA"), the Department of Justice ("D01"), the

U.S. Attorney's Office for the Southern District of New York ("SDNY-USAO"), the USMS, the

Federal Bureau of Investigation ("FBI"), Internal Revenue Service ("IRS"), Joint Terrorism Task

Force C'JTTF") or any agents, employees, or contractors of the USA, the DOJ, the SDNY­

USAO, the USMS, FBI, IRS or the JTTF and are further barred from assisting others in asserting

any such claim, in connection with the seizure, possession and/or sale of the Defendant

Properties.

               9.      Each Settling Judgment Creditor represents that he/she has a claim to the

Defendant Properties and further agrees to hold harmless the USA, the DOJ, the SDNY USAO,

the USMS, FBI, IRS and the JTTF, as well as any and all employees, officers, contractors, and

agents ofthe USA, the DOJ, the SONY USAO, the USMS, FBI, IRS and the JTTF (collectively

the "Hold Harmless USA Parties") from any and all claims concerning the seizure and/or

possession of the Defendant Properties based upon the alleged gross negligence or willful

misconduct of such Settling Judgment Creditor up to the amount any such Settling Judgment

Creditor received under the terms of this Agreement. The parties agree that the obligation of any

Settling Judgment Creditor to hold harmless the Hold Harmless USA Parties shall be several,

and not joint, and that any claim the Hold Harmless USA Parties assert shall be limited to, and

against only, the alleged breaching Settling Judgment Creditor(s) under this paragraph and that

the liability of any alleged breaching Settling Judgment Creditor(s) under this paragraph shall be

limited to the amount that Settling Judgment Creditor received under the terms of this Agreement


                                                [3
   Case 1:08-cv-10934-LAP             Document 1122         Filed 04/16/14         Page 14 of 26




and that no party who has breached this obligation to hold harmless the USA Parties shall have a

right of contribution against any non-breaching party.

                10.     This Stipulation and Order shall not constitute any reflection upon the

merits of the claims and defenses asserted respectively by the United States and the Settling

Judgment Creditors.

                II.     Each party shall bear its own costs and attorney's fees.

                12.     This Stipulation and Order represents the complete agreement between the

parties and cannot be amended, nor can any other parties join this agreement, without the written

consent of all the parties.

                13.     The signature page of this Stipulation and Order may be executed in one

or more counterparts, each of which will be deemed an original but all of which together will

constitute one and the same instrument. Faxed, emailed and scanned copies shall be treated as

originals.

                14.     In the event that a Court determines, pursuant to a final, non-appealable

Order, that the USAO is not entitled to forfeit the Defendant Properties, this Agreement shall

become null and void with regard to the rights and obligations by and between the USAO and

the Settling Judgment Creditors, but shall remain binding amongst the Settling Judgment

Creditors with regard to their agreement to share on a pro-rata basis in the proceeds from any of

the Defendant Properties recovered by any of the Settling Judgment Creditors based upon the

compensatory portion of the Settling Judgment Creditors' outstanding judgments as set forth in

Paragraph I hereof.

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 Case 1:08-cv-10934-LAP                   Document 1122              Filed 04/16/14   Page 15 of 26




                 15.       This Coun shall retain jurisdiction to adjudicate any disputes or problems

arising from this Stipulation and Order.

AGREED AND CONSENTED TO:

       PREET BHARARA
       United States Attorney for
       the Southern District of New York
       Attorney for Plaintiff


By:
       SHARON COHEN LEVIN                                              DAfE
       MICHAEL D. LOCKARD
       MA RTIN S. BELL
       CAROLINA A. FORNOS
       Assistant United States Attorneys
       One Sc Andrew's Plaza
       New York. New York 10007
       (212) 637-1060/2193/2463/2740

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B):       /,!     /    /     '/   <--~~~~
       ZOI-l~/ H MIZRAHI                            \
       Manesh & Mizrahi, P.L.C.                         )
       2049 CClltury Park East, Suite 2680
       Los Angeles. CA 90067
       (310) 843-9494

BorVIN, BROWN AND BLAND
     JUDGMENT CREDITORS


By:
       NOEL J. NUDELMAN                                                DATE
       Heideman Nudelman & Kalik. P.c.
       1146 ! 9th Street. 5th Flour
       Washington. DC 20036

             [ADDITIONAL SIGNATURES ON THE FOLLOWING PAGES I




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 Case 1:08-cv-10934-LAP                  Document 1122          Filed 04/16/14        Page 16 of 26




                15.         This Court shall retain jurisdiction to adjudicale any disputes or problems

arising from this Stipulation ilnd Order.

AGREED AND CONSENTED TO:

       PREFT BHARARA
       United States Attorney for
       the SOllthern District of New York
       Attorney for Plaintiff


ny:
       SHARON COIlE:-\ LEVIN                                        DATE
       MICHAEL D, LOCKARD
       MARTIN S. REU.
       CAROLINA A, FORNOS
       Assistant United States Attorneys
       One Sl. Andrew's Plaza
       New York, New York 10007
       (212) 637-1060/2193/2463/2740

DA Y ANI JUDGMFNT CRFDTTORS


By:
       ZOlIREH MIZRAIH                                             DATE
       Manesh & Mizrahi, P.L.c.
       2049 Ccntmy Park East, Suite 2680
       Los Angeles, CA 90067
       (3\ 0) :-143-9494

BOTVIN, DROWN AND BLAND
     JUDClME     EDITORS
                      T""




By:
       NOEL 1. NCDELMAN
       Heideman Nudelman & Kalik, P.c.
              th        th
       1146 19 Street, 5 Floor
       Washington, DC 20036

             [ADDITIONAL SIGl\AlTRES ON THE FOLLOWIN(; PAGESI




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 Case 1:08-cv-10934-LAP         Document 1122   Filed 04/16/14   Page 17 of 26




      VALORE JUDGMENT CREDITORS


By:                                              ld911<-j
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Case 1:08-cv-10934-LAP         Document 1122   Filed 04/16/14   Page 18 of 26




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Case 1:08-cv-10934-LAP          Document 1122   Filed 04/16/14   Page 19 of 26




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 Case 1:08-cv-10934-LAP           Document 1122   Filed 04/16/14   Page 20 of 26




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Case 1:08-cv-10934-LAP                Document 1122   Filed 04/16/14   Page 21 of 26




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  Case 1:08-cv-10934-LAP            Document 1122   Filed 04/16/14   Page 22 of 26




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Case 1:08-cv-10934-LAP              Document 1122     Filed 04/16/14   Page 23 of 26




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      Case 1:08-cv-10934-LAP           Document 1122     Filed 04/16/14   Page 24 of 26




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Case 1:08-cv-10934-LAP              Document 1122          Filed 04/16/14        Page 25 of 26




               15.    This Court shall retain jurisdiction to adjudicate any disputes or problems

arising from this Stipulation and Order.

AGREED AND CONSENTED TO:

       PREET BHARARA
       United States Attorney for
       the Southern District of New York
       Attorney for Plaintiff


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  Case 1:08-cv-10934-LAP       Document 1122   Filed 04/16/14   Page 26 of 26
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SO ORDERED:




HONORABLE KATHERlNE B. FORREST                 DATt      /'
United States District Judge
Southern District of New York




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